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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA, et al.,

                               Plaintiffs,           Case No. 1:20-cv-03010-APM

 v.                                                  HON. AMIT P. MEHTA
 GOOGLE LLC,

                               Defendant.




 PLAINTIFFS’ MOTION TO SANCTION GOOGLE AND COMPEL DISCLOSURE OF
                 DOCUMENTS UNJUSTIFIABLY CLAIMED
             BY GOOGLE AS ATTORNEY-CLIENT PRIVILEGED

       Plaintiffs respectfully move the Court to sanction Defendant Google LLC (Google) and

compel the disclosure of documents unjustifiably claimed by Google as attorney-client

privileged. Plaintiffs have conferred with Google’s counsel pursuant to Local Rule 7(m), and

Google opposes this motion. Plaintiffs request an oral hearing.

       Pursuant to its inherent authority, the Court should sanction Google for its intentional

efforts to misuse the attorney-client privilege to shield ordinary-course business communications

from discovery, harming Plaintiffs, undermining their discovery efforts, and subverting the

judicial process. In a program called “Communicate with Care,” Google trains and directs

employees to add an attorney, a privilege label, and a generic “request” for counsel’s advice to

shield sensitive business communications, regardless of whether any legal advice is actually

needed or sought. Often, knowing the game, the in-house counsel included in these

Communicate-with-Care emails does not respond at all.
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       In 2016, Google instructed employees to create artificial indicia of privilege for all

written communications related to revenue-share agreements and Mobile Application

Distribution Agreements (MADAs), the exclusionary agreements at the heart of this action.

Google reiterated those instructions after the Department of Justice issued its first Civil

Investigative Demand in the investigation preceding this case. The Court should, therefore,

sanction Google for its deliberate and deceptive misuse of the attorney-client privilege and order

the company to produce, unredacted, all emails between non-attorneys where included in-house

counsel did not bother to reply, indicating that any request for legal advice was most likely a

pretext.

       Alternatively, the Court should hold that Google has not, and cannot, make the necessary

showing to support its privilege claims over these communications, and order these same

documents produced immediately.

       Accordingly, Plaintiffs’ respectfully request that this Court order that:

   1. No later than May 2, 2022, Google must produce all withheld or redacted

       communications (including attachments and linked documents) in unredacted form where

       an in-house attorney was included but did not respond in the chain of communications

       with non-attorneys.

   2. No later than May 2, 2022, Google must provide a single privilege log for all of the

       documents on which Google continues to maintain an attorney-client privilege claim.

       This privilege log must not include an entry for any document on which Google no

       longer claims attorney-client privilege, including documents produced in response to this

       Order.

   3. No later than May 2, 2022, Google must provide an index of all documents that Google




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      has deprivileged in this litigation, including documents deprivileged as a result of this

      Order. The index must include information sufficient to reasonably enable matching the

      original privilege log identifier with the Bates number of the newly produced

      deprivileged document.

   4. Grant such other and further relief as is just and proper.



Dated: March 8, 2022


                                              By:     /s/ Kenneth M. Dintzer
                                              Kenneth M. Dintzer
                                              Karl E. Herrmann
                                              U.S. Department of Justice, Antitrust Division
                                              Technology & Digital Platforms Section
                                              450 Fifth Street NW, Suite 7100
                                              Washington, DC 20530
                                              Telephone: (202) 227-1967
                                              Kenneth.Dintzer2@usdoj.gov
                                              Counsel for Plaintiff United States of America

                                              By:     /s/ Johnathan R. Carter
                                              Leslie Rutledge, Attorney General
                                              Johnathan R. Carter, Assistant Attorney General
                                              Office of the Attorney General, State of Arkansas
                                              323 Center Street, Suite 200
                                              Little Rock, Arkansas 72201
                                              Johnathan.Carter@arkansasag.gov
                                              Counsel for Plaintiff State of Arkansas




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                            By:     /s/ Adam Miller
                            Rob Bonta, Attorney General
                            Ryan J. McCauley, Deputy Attorney General
                            Adam Miller, Deputy Attorney General
                            Paula Blizzard, Supervising Deputy Attorney
                            General
                            Kathleen Foote, Senior Assistant Attorney General
                            Office of the Attorney General,
                            California Department of Justice
                            455 Golden Gate Avenue, Suite 11000
                            San Francisco, California 94102
                            Adam.Miller@doj.ca.gov
                            Counsel for Plaintiff State of California

                            By:     /s/ Lee Istrail
                            Ashley Moody, Attorney General
                            R. Scott Palmer, Interim Co-Director, Antitrust
                            Division
                            Nicholas D. Niemiec, Assistant Attorney General
                            Lee Istrail, Assistant Attorney General
                            Office of the Attorney General, State of Florida
                            PL-01 The Capitol
                            Tallahassee, Florida 32399
                            Lee.Istrail@myfloridalegal.com
                            Scott.Palmer@myfloridalegal.com
                            Counsel for Plaintiff State of Florida

                            By:     /s/ Daniel Walsh
                            Christopher Carr, Attorney General
                            Margaret Eckrote, Deputy Attorney General
                            Daniel Walsh, Senior Assistant Attorney General
                            Charles Thimmesch, Assistant Attorney General
                            Office of the Attorney General, State of Georgia
                            40 Capitol Square, SW
                            Atlanta, Georgia 30334-1300
                            cthimmesch@law.georgia.gov
                            Counsel for Plaintiff State of Georgia




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                            By:     /s/ Scott L. Barnhart
                            Theodore Edward Rokita, Attorney General Scott
                            L. Barnhart, Chief Counsel and Director,
                            Consumer Protection Division
                            Matthew Michaloski, Deputy Attorney General
                            Erica Sullivan, Deputy Attorney General
                            Office of the Attorney General, State of Indiana
                            Indiana Government Center South, Fifth Floor
                            302 West Washington Street
                            Indianapolis, Indiana 46204
                            Scott.Barnhart@atg.in.gov
                            Counsel for Plaintiff State of Indiana


                            By:     /s/ Philip R. Heleringer
                            Daniel Cameron, Attorney General
                            J. Christian Lewis, Executive Director of
                            Consumer Protection
                            Philip R. Heleringer, Deputy Executive Director of
                            Consumer Protection
                            Jonathan E. Farmer, Assistant Attorney General
                            Office of the Attorney General, Commonwealth of
                            Kentucky
                            1024 Capital Center Drive, Suite 200
                            Frankfort, Kentucky 40601
                            Philip.Heleringer@ky.gov
                            Counsel for Plaintiff Commonwealth of Kentucky

                            By:     /s/ Christopher J. Alderman
                            Jeff Landry, Attorney General
                            Christopher J. Alderman, Assistant Attorney
                            General
                            Office of the Attorney General, State of Louisiana
                            Public Protection Division
                            1885 North Third St.
                            Baton Rouge, Louisiana 70802
                            AldermanC@ag.louisiana.gov
                            Counsel for Plaintiff State of Louisiana




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                            By:    /s/ Scott Mertens
                            Dana Nessel, Attorney General
                            Scott Mertens, Assistant Attorney General
                            Michigan Department of Attorney General
                            P.O. Box 30736
                            Lansing, Michigan 48909
                            MertensS@michigan.gov
                            Counsel for Plaintiff State of Michigan

                            By:     /s/ Stephen M. Hoeplinger
                            Stephen M. Hoeplinger
                            Assistant Attorney General
                            Missouri Attorney General’s Office
                            815 Olive St., Suite 200
                            St. Louis, Missouri 63101
                            Stephen.Hoeplinger@ago.mo.gov
                            Counsel for Plaintiff State of Missouri

                            By:     /s/ Hart Martin
                            Lynn Fitch, Attorney General
                            Hart Martin, Special Assistant Attorney General
                            Crystal Utley Secoy, Assistant Attorney General
                            Office of the Attorney General, State of
                            Mississippi
                            P.O. Box 220
                            Jackson, Mississippi 39205
                            Hart.Martin@ago.ms.gov
                            Counsel for Plaintiff State of Mississippi

                            By:     /s/ Rebekah J. French
                            Austin Knudsen, Attorney General
                            Rebekah J. French, Assistant Attorney General,
                            Office of Consumer Protection
                            Office of the Attorney General, State of Montana
                            P.O. Box 200151
                            555 Fuller Avenue, 2nd Floor
                            Helena, Montana 59620-0151
                            Rebekah.french@mt.gov
                            Counsel for Plaintiff State of Montana




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                            By:     /s/ Rebecca M. Hartner
                            Rebecca M. Hartner, Assistant Attorney General
                            Alan Wilson, Attorney General
                            W. Jeffrey Young, Chief Deputy Attorney General
                            C. Havird Jones, Jr., Senior Assistant Deputy
                            Attorney General
                            Mary Frances Jowers, Assistant Deputy Attorney
                            General
                            Office of the Attorney General, State of South
                            Carolina
                            1000 Assembly Street
                            Rembert C. Dennis Building
                            P.O. Box 11549
                            Columbia, South Carolina 29211-1549
                            RHartner@scag.gov
                            Counsel for Plaintiff State of South Carolina


                            By:     /s/ Bret Fulkerson
                            Bret Fulkerson, Deputy Chief, Antitrust Division
                            Kelsey Paine, Assistant Attorney General
                            Office of the Attorney General, Antitrust Division
                            300 West 15th Street
                            Austin, Texas 78701
                            Bret.Fulkerson@oag.texas.gov
                            Counsel for Plaintiff State of Texas

                            By:    /s/ Gwendolyn J. Lindsay Cooley
                            Joshua L. Kaul, Attorney General
                            Gwendolyn J. Lindsay Cooley, Assistant Attorney
                            General
                            Wisconsin Department of Justice
                            17 W. Main St.
                            Madison, Wisconsin 53701
                            Gwendolyn.Cooley@Wisconsin.gov
                            Counsel for Plaintiff State of Wisconsin




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